Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21   Page 1 of 31 PageID 8




                EXHIBIT 1




                                                          Exhibit 1
4/7/2021                                                                  Details
                 Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                   Page 2 of 31 PageID 9




           Case Information

           DC-21-01539 | DINH VAN PHAN vs. KROGER TEXAS, L.P.

           Case Number                            Court                              Judicial Officer
           DC-21-01539                            14th District Court                MOYE', ERIC
           File Date                              Case Type                          Case Status
           02/02/2021                             OTHER PERSONAL INJURY              OPEN




           Party

           PLAINTIFF                                                                 Active Attorneys 
           PHAN, DINH VAN                                                            Lead Attorney
                                                                                     CAO, MICHAEL H
                                                                                     Retained




           DEFENDANT                                                                 Active Attorneys 
           KROGER TEXAS, L.P.                                                        Lead Attorney
           Address                                                                   BRISCOE, B KYLE
           ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY                         Retained
           211 EAST 7TH STREET, SUITE 620
           AUSTIN TX 78701




           Events and Hearings


             02/02/2021 NEW CASE FILED (OCA) - CIVIL


             02/02/2021 ORIGINAL PETITION 


             ORIGINAL PETITION


             02/02/2021 JURY DEMAND 


             JURY DEMAND FORM

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                     1/3
4/7/2021                                                                  Details
                Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                    Page 3 of 31 PageID 10
             02/02/2021 ISSUE CITATION


             02/08/2021 CITATION 


             Served
             02/12/2021

             Anticipated Server
             ESERVE

             Anticipated Method
             Actual Server
             CERTIFIED MAIL

             Returned
             02/25/2021
             Comment
             KROGER TEXAS LP


             02/25/2021 RETURN OF SERVICE 


             EXECUTED CITATION- KROGER TEXAS LP

               Comment
               EXECUTED CITATION- KROGER TEXAS LP


             03/05/2021 ORIGINAL ANSWER - GENERAL DENIAL 


             ORIGINAL ANSWER




           Financial

           PHAN, DINH VAN
                Total Financial Assessment                                                                $340.00
                Total Payments and Credits                                                                $340.00


            2/5/2021      Transaction Assessment                                                         $340.00

            2/5/2021      CREDIT CARD - TEXFILE (DC)        Receipt # 7609-2021-DCLK   PHAN, DINH VAN   ($340.00)




           Documents


             ORIGINAL PETITION
             JURY DEMAND FORM


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                             2/3
4/7/2021                                                                  Details
               Case 3:21-cv-00822-B
            EXECUTED                   Document
                     CITATION- KROGER TEXAS LP  1-2 Filed 04/09/21                  Page 4 of 31 PageID 11
                                                                                                             !
           _________________________________________
            ORIGINAL ANSWER
                                                     j




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                          3/3
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21   Page 5 of 31 PageID 12




                 EXHIBIT 2




                                                          Exhibit 2
             Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                              Page 6 of 31 PageID 13




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 22761358
Notice of Service of Process                                                                            Date Processed: 02/15/2021

Primary Contact:           Venessa C. Wickline Gribble
                           The Kroger Co.
                           1014 Vine Street
                           Cincinnati, OH 45202-1100

Entity:                                       Kroger Texas L.P.
                                              Entity ID Number 2172000
Entity Served:                                Kroger Texas, L.P.
Title of Action:                              Dinh Van Phan vs. Kroger Texas, L.P.
Matter Name/ID:                               Dinh Van Phan vs. The Kroger Co. (9202532)
Document(s) Type:                             Citation/Petition
Nature of Action:                             Personal Injury
Court/Agency:                                 Dallas County District Court, TX
Case/Reference No:                            DC-21-01539
Jurisdiction Served:                          Texas
Date Served on CSC:                           02/12/2021
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Michael H. Cao
                                              214-703-0903

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                        Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                   Page 7 of 31 PageID 14




FORM NO. 353-3- CITATION                                                                                                                      ESERVE
THE STATE OF TEXAS
                                                                                                                                          CITATION
To:      KROGER TEXAS, L.P.
         ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
         D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY
         211 EAST 7TH STREET SUITE 620                                                                                                   DC-21-01539
         AUSTIN TX 78701

GREETINGS:                                                                                                                               DINH VAN PHAN
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                                  vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of                        KROGER TEXAS, L.P.
twenty days after you were served this citation and petition, a default judgment may be taken against you. In
addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties
of this suit. These disclosures generally must be I)1ade no later than 30 days after you file your answer with the clerk.                 ISSUEDTIDS
Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at                        8th day of February, 2021
600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being DINH VAN PHAN
                                                                                                                                        FELICIA PITRE
Filed in said Court 2nd day of February, 2021 against                                                                                 Clerk District Courts,
                                                                                                                                      Dallas County, Texas
KROGER TEXAS, L.P.

For Suit, said suit being numbered DC-21-01539, the nature of which demand is as follows:                                       By: COURTNEY RUTLEDGE, Deputy
Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURES, a copy
of which accompanies this citation. If this citation is not served, it shall be returned unexecuted.                                 Attorney for Plaintiff
                                                                                                                                      MICHAEL H CAO
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
                                                                                                                                     CAO & ASSOCIATES PC
Given under my hand and the Seal of said Court at office this 8th day ofFebruary, 2021.
                                                                                                                                       3212 N JUPITER RD
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                                SUITE 128
                                                                                                                                      GARLAND TX 75044
                                     ~~
                           By_ _ ______:_ ____::_ _ _ _ _ _ _, Deputy                                                                     214-703-0903
                             COURTNEY RUTLEDGE                                                                                      MCAO@CAOATLA W.COM
                                                                                                                                 DALLAS COUNTY
                                                                                                                            -     SERVICE FEES                   -

                                                                                                                                    NOT PAID
                           Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                          Page 8 of 31 PageID 15




                                                                        OFFICER'S RETURN
Case No.: DC-21-01539
Court No. 14th District Court

Style: DINHVANPHAN

vs.
KROGER TEXAS, L.P.

Came to hand on the                          day of _ _ _ _ _ _ _ _, 20                , at              o'clock _ _ _ _.M. Executed a t - - - - - - - - - - - - - '
within the County of                                    at _ _ _ _ _ o'clock _ _ _ .M. on the _ _ _ _ _ _ _day of._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,

20                     , by delivering to the within n a m e d - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


each in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certify which witness my hand.
                                For serving Citation          $_ _ __

                                For mileage                   $ _ __                          of _ _ _ _ _ _ _ County,

                                For Notary                    $_ _ __                         By _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Deputy

                                                                (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said _ _ _ _ _ _ _ _ _ _ _ before me this _ _ _ day of _ _ _ _ _ _ _ _ _, 20 --~
to certify which witness my hand and seal of office.


                                                                                              Notary Public                                  County
                                                                                                                                  FILED
        Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                  Page 9 of 31 PageID 16        2/2/2021 5:08 PM
                                                                                                                         FELICIA PITRE
                                                                                                                       DISTRICT CLERK
           1 CIT/ESERVE                                                                                              DALLAS CO., TEXAS
--------------------------------------------,AiiCfaMataDEPOTY



                                                                     DC-21-01539
                                                                 NO. _ _ _ __

         DINH VAN PHAN                                                  §                 IN THE DISTRICT COURT
         Plaintiff,                                                     §
                                                                        §          14th
         v.                                                             §          _ _ _ JUDICIAL DISTRICT
                                                                        §
         KROGER TEXAS, L.P.,                                            §
         Defendant.                                                     §          OF DALLAS COUNTY, TEXAS

                    PLAINTIFF'S ORIGINAL PETITION AND REQUIRED DISCLOSURES

        TO THE HONORABLE JUDGE OF SAID COURT:

                   NOW COMES, DINH VAN PHAN, hereinafter called "Plaintiff', complaining of and

        about KROGER TEXAS L.P., hereinafter called "Defendant", and for cause of action shows

        unto the Court the following:

                                               I.           DISCOVERY CONTROL PLAN LEVEL

                   1.         Plaintiff requests discovery be conducted under level 1 in accordance with 190.2

        of the Texas Rules of Civil Procedure.

                                                      II.        REQUIRED DISCLOSURES

                   2.         Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff seeks

        Defendant to disclose, within thirty (30) days of filing of the first answer, the information and

        materials described in Rule 194.2, 194.3, and 194.4 of the Texas Rules of Civil Procedure to the

        undersigned law office.

                                                        III.      PARTIES AND SERVICE

                   3.         Plaintiff, DINH VAN PHAN, is a resident of, Garland, Dallas County, Texas.

                   4.         Defendant KROGER TEXAS L.P., is a Texas corporation and may be served

        with process with their registered agent, Corporation Service Company, d/b/a CSC-Lawyers




        Plaintiff's Original Petition and Required Disclosures                                          Page I of7
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                          Page 10 of 31 PageID 17




Incorporating Service Company, at its registered office, 211 East 7111 Street, Suite 620, Austin,

Texas 78701, or wherever it may be found.

                                                  IV.     MISNOMERIALTEREGO

           5.         In the event any party is misnamed or not included, this was a misidentification or

misnomer, and/or those parties are or were alter egos of the named parties. Alternatively, any

corporate veils or other contrivances should be pierced to hold such parties properly included in

the interest of justice.

           6.         Plaintiff expressly invokes Rule 28 of the Texas Rules of Civil Procedure to have

the true name(s) of the parties substituted at a later time upon motion of any party of the Court.

                                               V.        JURISDICTION AND VENUE

           7.         This Court has jurisdiction over the parties because Defendant is a Dallas County,

Texas resident.

           8.         Venue in Dallas County is proper in this cause under Section 15.002(a)(l) of the

Texas Civil Practice and Remedies Code because all or a substantial part of the events or omissions

giving rise to this lawsuit occurred in this county.

           9.         The subject matter in controversy is within the jurisdictional limits of this court.

Plaintiff seeks monetary relief of $250,000 or less, excluding interest, statutory or punitive

damages and penalties, and attorney's fees and costs.

           10.        Plaintiff is not making any claims for relief under federal law and any removal to

federal court would be in bad faith and met with an immediate motion to remand and for sanctions,

as there is a lack of diversity amongst the parties, and Plaintiff is not brining any claims under

federal law.




Plaintiff's Original Petition and Required Disclosures                                        Page 2 of7
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                             Page 11 of 31 PageID 18




                                                         VI.   FACTS

           11.        At all times hereto, Defendant, Kroger Texas, L.P., was the owner occupier located

at 532 W. Interstate 30, Garland TX 75043.

           12.        On or about April 2, 2019, Plaintiff went to Kroger in East Dallas, to customer

service. When Plaintiff was walking down the drink aisle to customer service, he slipped and fell

on a slick substance on the floor.

           13.        Plaintiff suffered serious bodily injuries as a direct result of the fall due to the slick

floor, which Defendant knew existed.

                              VII.       LIABILITY AND NEGLIGENCE OF DEFENDANT

           14.        At the time and on the occasion in question, Defendant owned and operated Kroger

located at 532 W. Interstate 30, Garland TX 75043. At the time of the accident, Defendant

negligently failed to maintain their premises in a safe and reasonable manner. Defendant had a

duty to exercise ordinary care and reasonably and prudently maintain their premises safe for all

people of the property. In setting up and maintaining the store, Defendant and its employees failed

to use ordinary care by various acts of omissions and/or commissions, including but not limited to

the following, each of which singularly or in combination, was a proximate cause of the incident

in question:

                      a. In failing to monitor the condition of the floor in the store;

                      b. In failing to promptly clean the floor;

                      c. In failing to properly train its employees;

                      d. In failing to warn others that a dangerous condition existed; and

                      e. In creating a hazard to others.

           15.        Such negligence, either singularly or in combination, proximately caused Plaintiffs




Plaintiff's Original Petition and Required Disclosures                                             Page 3 ofl
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                               Page 12 of 31 PageID 19




injuries and resulting damages.

           16.        Nothing Plaintiff did or failed to do was a proximate or contributing cause of the

basis of this suit.

                                                     VIII. PREMISES LIABILITY

           17.        Plaintiff was an invitee on the premises in question occupied and/or controlled by

Defendant. Defendant knew, or in the exercise of ordinary care, should have known of an

unreasonable dangerous condition existing on the floor, which posed an unreasonable risk or harm

to the general public, including Plaintiff, but failed to inspect and make safe or adequately warn

him of the condition.

           18.        In the alternative, Plaintiff would show that he was a licensee on the premises in

question occupied and/or controlled by Defendant. Defendant knew of an unreasonable dangerous

condition existing on the floor, which posed an unreasonable risk of harm to the general public,

including Plaintiff, but failed to make safe or adequately warn him of the condition. Plaintiff was

without knowledge of the dangerous condition of the premises prior to the incident in question.

                                                         IX.     PROXIMATECAUSE

           19.        Each and every, all and singular of the foregoing acts and omissions, on the part of

Defendant, taken separately and/or collectively, constitute a direct and proximate cause of the

injuries and damages set forth below.

                                                X.             DAMAGES FOR PLAINTIFF

           20.        As a direct and proximate result of the occurrence made the basis of this lawsuit

and Defendant's acts as described herein, Plaintiff was caused to suffer personal injuries and to

endure anxiety, pain, and illness resulting in damages more fully set forth below:

                      a. The physical pain and mental anguish sustained from the date of the incidence
                         to the time of verdict herein;



Plaintiff's Original Petition and Required Disclosures                                        Page 4 of7
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                          Page 13 of 31 PageID 20




                      b. The physical pain and mental anguish which, in reasonable medical probability,
                         will be suffered after the date of verdict herein;

                      c. The reasonable and necessary costs of medical care and treatment, including
                         doctors, hospitals, nurses, medicines, and other services and supplies from the
                         date of the incident to the time of the verdict herein;

                      d. The reasonable and necessa1y costs of medical care and treatment, including
                         doctors, hospitals, nurses, medicines, and other services and supplies, which in
                         all reasonable probability will be incurred in the future after the date of verdict
                         herein;

                      e. Physical impairment which has been sustained, resulting in lessened use and/or
                         movement of various parts of Plaintiffs body from the date of the incident to
                         the date of verdict herein;

                      f.   The physical impairment which, in reasonable probability, will be sustained to
                           various parts of Plaintiffs body, resulting in lessened use and/or movement of
                           same in the future after the date of verdict herein.

                      g. Physical disfigurement which has been sustained, resulting in lessened use
                         and/or movement of various parts of Plaintiffs body from the date of the
                         incident to the date of verdict herein; and

                      h. The physical disfigurement which, in reasonable probability, will be sustained
                         to various parts of Plaintiffs body, resulting in lessened use and/or movement
                         of same in the future after the date of verdict herein.

           21.        By reason of the above, Plaintiff has suffered losses and in a sum within the

jurisdictional limits of the Court and for which this lawsuit is brought.

                                                  XI.    PRESERVING EVIDENCE

           22.        Plaintiff hereby requests and demand that Defendant preserves and maintains all

evidence pertaining to any claim or defense related to the incident that made the basis of this

lawsuit or the damages resulting from, including statements, photographs, videotapes, audiotapes,

surveillance, or security tapes or information, business or medical records, incident reports, tenant

files, periodic reports, financial statements, bills, telephone call slips or records, estimates,

invoices, checks, measurements, correspondence, facsimiles, email voice mail, text messages, and



Plaintif{"s Original Petition and Required Disclosures                                         Page 5 of7
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                Page 14 of 31 PageID 21




evidence involving the incident in question, and any electronic image or information related to the

referenced incident or damages. Failure to maintain such items will constitute "spoliation" of the

evidence.

                                                         XII.    NOTICE OF USE

           23.        Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Defendant is hereby

notified that Plaintiff intends to use all documents produced by Defendant in response to written

discovery in pretrial proceedings and trial. Defendant is required to assert any objection to the

authenticity of any document Plaintiff produces within ten days of its production.

                                                                XIII. PRAYER

           24.        WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prat that the

Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiff and against Defendant for damages in an amount within the

jurisdictional limits of the Court, together with pre-judgment interest (from the date of injury

through the date of judgment) at the maximum rate allowed by law; post-judgment interest at the

legal rate, costs of the court, and such other and further relief to which the Plaintiff may be entitled

at law or in equity.



                                                                           Respectfully submitted,




                                                                           Michael H. Cao
                                                                           TX Bar No.: 24012379
                                                                           Email: mcao@caoatlaw.com
                                                                           Omar R. Gutierrez
                                                                           Email: omar@caoatlaw.com
                                                                           TX BarNo.: 24101076


Plaintiff's Original Petition and Required Disclosures                                               Page 6 of7
.   '
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21              Page 15 of 31 PageID 22




                                                         CAO & Associates, P.C.
                                                         3212 N. Jupiter Rd Ste 128
                                                         Garland, TX 75044
                                                         Tel: 214-703-0903
                                                         Fax: 469-519-8812
                                                         ATTORNEYS FOR
                                                         DINH VAN PHAN


                             PLAINTIFF HEREBY DEMANDS TRIAL BY JURY.




Plaintiff's Original Petition and Required Disclosures                           Page 7 vf7
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                                                             3:21-cv-00822-B
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                                                                              Document 1-2 Filed 04/09/21   Page 16 of 31 PageID 23
LEGAL DOCUMENT M
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     DALLAS, TEXAS 75240
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                                                                        7020 2450 DODO 2120 2245
                                                                                                            I


                                                                                    CORPORATION SERVICE COMPANY
                                                                                        211 E. 7th STREET., #620
                                                                                         AUSTIN, TEXAS 78701
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21   Page 17 of 31 PageID 24




                 EXHIBIT 3




                                                          Exhibit 3
                                                                                                                                                                                           FILED
                                                                                                                                                                                2/25/2021 2:26 PM
                                                                                                                                                                                  FELICIA PIT   E
                                        Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                     Page 18 of 31 PageID 25                            DISTRICT CLE    K
                                                                                                                                                                              DALLAS CO., TEX   S
                                                                                                                                                                               Gay Lane DEPU    Y




                 FORM N0. 353-3 - CITATION                                                                                                                 ESERVE
                 THE STATE 0F TEXAS
                                                                                                                                                       CITATION
                 To:      KROGER TEXAS, L.P.
                          ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
                          D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY
                          211 EAST 7TH STREET SUITE 620                                                                                                DC—21-01539
                          AUSTIN TX 78701

                 GREETINGS:                                                                                                                            DINH VAN PHAN
                 You have been sued. You may employ an attorney. If you or your attorney do not le a written                                                   vs.      -




                 answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of                    KROGER TEXAS, L.P.
                 twenty days after you were served this citation and petition, a default judgment may be taken against you. In
                 addition to ling a written answer with the clerk. you may be required to make initial disclosures to the other parties
                 of this suit. These disclosures generally must be made no later than 30 days after you le your answer with the clerk.                  ISSUED THIS
                 Find out more at TexasLawI-lelp.org. Your answer should be addressed to the clerk of the 14th District Court at                  8th day of February, 2021
                 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

                 Said Plaintiff being DINH VAN PHAN
                                                                                                                                                     FELICIA PITRE
                 Filed in said Court 2nd day of February, 2021 against                                                                             Clerk District Courts,
                                                                                                                                                   Dallas County, Texas
                 KROGER TEXAS, L.P.
                 For Suit, said suit being numbered DC-21-01539, the nature of which demand is as follows:                                By: COURTNEY RUTLEDGE, Deputy
                 Suit on OTHER PERSONAL INJURY etc. as shown on said petition REQUEST FOR DISCLOSURES, a copy
                 of which accompanies this citation. If this citation is not served, it shall be returned unexecuted.
                                                                                                                                                  Attorney for Plaintiff
                                                                                                                                                   MICHAEL H CAO
                                                                                                                                              '



                WITNESS: FELICIA PITRE, Clerk or the District Courts of Dallas, County Texas.
                Given under my hand and the Seal of said Court at office this 8th day of February, 2021.
                                                                                                                sswy‘g''gt       ,,,              CAO & ASSOCIATES PC
                                                                                                              §°S°"’r%’g                            3212 N JUPITER RD
                                                                                                             53       "‘     "   it?                     SUITE 128
                ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                 ‘g’g‘t              _5:§
                                            By      WW
                                                 COURTNEY RUTLEDGE
                                                                                          ’ Deputy
                                                                                                              art“           as;
                                                                                                                [I’M'Imu'nul\\““
                                                                                                                                                   GARLAND TX 75044
                                                                                                                                                        214-703-0903
                                                                                                                                              MCAOQECAOATLAWCOM
                                                                                                                                           DALLAS COUNTY
                                                                                                                                            SERVICE FEES
                                                                                                                                                   NOT PAID



Copy from re:SearchTX
                                            Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                                        Page 19 of 31 PageID 26




                                                                                                      OFFICER'S RETURN
                 Case No.   :   DC-21-01539

                 Court No. 14th District Court

                 Style: DINH VAN PHAN
                 VS.

                 KROGERTEXAS, L..1>
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                 Cametohand on the            45                  day of      Fa                   ,20 g               ,a     if”       o'clock     é         ..M Executed
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                 within the County of            Z   Wgé                       miigég,                o 'clock     A        .M on the      [az            day of           Zm                                    ,

                                        , by delivering to the within named
                                                                                   t




                 cache-person      a true copy   of this Citation together with    the accompanying copy          of this pleading, having rst endorsed on same date of delivery. The distance actually traveled by
                 me in serving such process was                     miles and my fees are as follows: To certify which witness my hand.

                                                     For serving Citation              $     I 2
                                                     For mileage                       $   ‘g-
                                                     For Notary                        $   4     3‘
                                                                                           (Must be veried       if served outside the State of Texas.)           % 3‘ 33‘s;
                Sigied and sworn to by the said                                                before me this          g      day of                      L       ,   20

                to certify which witness my hand and seal          of ofce.                                                                                                “W
                                                                                                                            Notarymc              é i%           é              County   Z   a
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                                                                                                                                  a, ......-   §=Comm. ExpiresOBtS-2024
                                                                                                                                   ”rms“           NotarvlD 132623008




Copy from re:SearchTX
                  Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                                    Page 20 of 31 PageID 27



                        SENDER: COMPLETE THIS SECTION                          COMPLETE THIS SECTION 0N DELIVERY

                        l   Complete items 1, 2, and 3.
                                                                              A     Signature
                        I Print your name and address on the reverse           x                                                         U Agent
                          so that we can return the card to you.
                        I Attach this card to the back of the mairpiece,       3'   “WV         by (”WW Name)                   0‘ Da‘e °f DE'WBW
                            or on the front if space permits.                                        ____       ‘    A   mm
                        1. Amara Addressed to:                                 D. Is delivery addMerlnroMr              1?               El Yes
                                                                                  if YES, enter delivery addresa below:                  D No
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                        CORPORATION SERVICE COMPANY
                                                                                                            AAO
                                  211 E. 7th         STREET., #620
                                                                             3. Service Type                              D Priorlty Mail Express®
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                                9590 9402 6226 0265 2499 05                  U Collect an Delivery                     U Signature Conrmation
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        Associated Case Party: DINHVANPHAN

          Name              BarNumber   Email               TimestampSubmitted     Status

          Judy HNguyen                  judy@caoatlaw.com   2/25/2021 2:26:34 PM   SENT
          Michael Cao                   mcao@caoatlaw.com   2/25/2021 2:26:34 PM   SENT
          Omar RGutierrez               omar@caoatlaw.com   2/25/2021 2:26:34 PM   SENT




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                 EXHIBIT 4




                                                         Exhibit 4
                                                                                                                  FILED
                                                                                                      3/5/2021 12:55 PM
                                                                                                          FELICIA PITRE
  Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21                  Page 23 of 31 PageID 30            DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                                   Loaidi Grove DEPUTY


                                     CAUSE NO. DC-21-01539

 DINH VAN PHAN,                                  §            IN THE DISTRICT COURT
       Plaintiff,                                §
                                                 §
 vs.                                             §            14th JUDICIAL DISTRICT
                                                 §
 KROGER TEXAS, L.P.                              §
      Defendant.                                 §            DALLAS COUNTY, TEXAS

                   DEFENDANT’S ORIGINAL ANSWER AND SPECIAL EXCEPTION

       COMES NOW, Defendant Kroger Texas L.P., (“Defendant”) in the above-entitled and

numbered cause and files its Original Answer and Special Exception and, in support thereof,

respectfully shows the Court as follows:

                                               I.
                                         GENERAL DENIAL

       1.      Defendant denies each and every, all and singular, the material allegations

contained in Plaintiff’s Original Petition, demands strict proof thereof and, to the extent that such

matters are questions of fact, says Plaintiff should prove such facts by a preponderance of the

evidence and/or by clear-and-convincing evidence to a jury, if Plaintiff can so do.

                                                II.
                                             DEFENSES

       2.      Defendant specifically denies Plaintiff’s allegations that it was negligent in any

respect, and Defendant denies that its alleged acts or omissions proximately caused Plaintiff’s

alleged damages.

       3.      Defendant claims that Plaintiff failed to use that degree of care and caution as

would have been used by a reasonable person under the same or similar circumstances, thereby

producing or proximately causing Plaintiff’s alleged damages, if any. Such acts or omissions of



DEFENDANT’S ORIGINAL ANSWER                                                                    Page 1
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Plaintiff were the sole proximate cause of Plaintiff’s alleged damages, if any, as Plaintiff should

have kept a proper lookout for his own safety and avoided the alleged unreasonably dangerous

condition.

        4.      To the extent applicable, Defendant may show that the acts or omissions of third

persons not under the control of Defendant were the sole, producing, or proximate cause of

Plaintiff's damages or injuries, if any.

        5.      Defendant asserts that it had neither actual nor constructive knowledge of the

condition about which Plaintiff complains and that, in any event, the alleged hazard was not

"unreasonably dangerous."

        6.      Defendant may alternatively show that it adequately warned Plaintiff of the

condition, or that the condition was open and obvious, relieving Defendant of any duty to warn

of the condition or make it safe.

        7.      Defendant may further show that the damages of which Plaintiff complains, if any,

were the result of prior, pre-existing, or subsequent injuries, accidents, or conditions, and said

prior, pre-existing, or subsequent injuries, accidents, or conditions were the sole or a contributing

cause of Plaintiff’s damages, if any.

        8.      Defendant may further show that Plaintiff breached his duty to mitigate damages

by failing to exercise reasonable care and diligence to avoid loss and minimize the consequences

of damages.

        9.      Defendant may further show that the accident complained of was an unavoidable

accident as that term is known in law.




DEFENDANT’S ORIGINAL ANSWER                                                                    Page 2
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       10.     Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       11.     Defendant further asserts that any claims for medical or health care expenses

incurred are limited to the amount actually paid or incurred by or on behalf of Plaintiff pursuant

to Texas Civil Practice and Remedies Code § 41.0105.

       12.     Defendant asserts that it is entitled to contribution, indemnity, and all available

credits as provided for in the Texas Civil Practice and Remedies Code and under Texas law, in the

unlikely event that an adverse judgment is rendered against it in this matter.

       13.     Defendant contends that, pursuant to § 18.091 of the Texas Civil Practice &

Remedies Code, to the extent Plaintiff is seeking a recovery for loss of earnings, lost wages, loss

of earning capacity and/or loss of contributions of pecuniary value, evidence of this alleged loss

must be presented by Plaintiff in the form of a net loss after reduction for income tax payments,

or unpaid tax liability to any federal income tax law.

                                                III.
                                        SPECIAL EXCEPTION

       Further answering herein, pursuant to Rule 91 of the Texas Rules of Civil Procedure,

Defendant objects and specially excepts to Section XII of Plaintiff’s Original Petition, titled “Notice

of Use,” which improperly attempts to invoke Rule 193.7 of the Texas Rules of Civil Procedure.

Specifically, such paragraph states that “[p]ursuant to Rule 193.7 of the Texas Rules of Civil

Procedure, Defendant is hereby notified that Plaintiff intends to use all documents produced by

Defendant in response to written discovery in pretrial proceedings and trial. Defendant is

required to assert any objection to the authenticity of any document Plaintiff produces within


DEFENDANT’S ORIGINAL ANSWER                                                                     Page 3
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ten days of its production.” However, Rule 193.7 requires that the party invoking Rule 193.7

provide “actual notice that the document will be used” to the producing party.1 Furthermore,

“the ten-day period allowed for objection to authenticity . . . does not run from the production

of the material or information but from the party’s actual awareness that the document will be

used.”2 Accordingly, it is clear that Rule 193.7 requires more than a mere blanket statement that

all documents produced in discovery will be authenticated against the producing party. Such a

blanket statement not only fails to satisfy the requirements of Rule 193.7, but it also places an

unreasonable burden upon Defendant to review all documents it produces and prophylactically

render objections regarding the authenticity of said documents. Therefore, Defendant requests

that the Court strike Section XII of Plaintiff’s Original Petition.

                                                       IV.
                                                     PRAYER

        Defendant respectfully prays that Plaintiff take nothing by this cause of action, that

Defendant be permitted to recover the costs expended on its behalf, and for such other and

further relief to which Defendant may show itself justly entitled, in law or in equity.




    1
        TEX. R. CIV. P. 193.7 (2017) (emphasis added).
    2
        Id., cmt. 7 (emphasis added).



DEFENDANT’S ORIGINAL ANSWER                                                                Page 4
  Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21             Page 27 of 31 PageID 34



                                           Respectfully submitted,

                                            /s/ B. Kyle Briscoe
                                           B. Kyle Briscoe
                                           State Bar No. 24069421
                                           kbriscoe@peavlerbriscoe.com
                                           Hope Zimlich Miranda
                                           State Bar No. 24084146
                                           hmiranda@peavlerbriscoe.com
                                           PEAVLER|BRISCOE
                                           2215 Westgate Plaza
                                           Grapevine, Texas 76051
                                           (214) 999-0550 (telephone)
                                           (214) 999-0551 (facsimile)

                                           ATTORNEYS FOR DEFENDANT



                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on March 5, 2021.

                                           /s/ B. Kyle Briscoe _______
                                           B. Kyle Briscoe




DEFENDANT’S ORIGINAL ANSWER                                                             Page 5
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Donna Peavler on behalf of Bryan Briscoe
Bar No. 24069421
dpeavler@peavlerbriscoe.com
Envelope ID: 51200010
Status as of 3/5/2021 1:26 PM CST

Associated Case Party: DINHVANPHAN

Name                BarNumber   Email               TimestampSubmitted     Status

Judy HNguyen                    judy@caoatlaw.com   3/5/2021 12:55:39 PM   SENT

Michael Cao                     mcao@caoatlaw.com 3/5/2021 12:55:39 PM     SENT

Omar RGutierrez                 omar@caoatlaw.com   3/5/2021 12:55:39 PM   SENT



Case Contacts

Name                   BarNumber Email                           TimestampSubmitted     Status

Bryan KyleBriscoe                  kbriscoe@peavlerbriscoe.com   3/5/2021 12:55:39 PM   SENT

Hope ZimlichMiranda                hmiranda@peavlerbriscoe.com 3/5/2021 12:55:39 PM     SENT

Sandy Dixon                        sdixon@peavlerbriscoe.com     3/5/2021 12:55:39 PM   SENT

Joy Rose                           JRose@PeavlerBriscoe.com      3/5/2021 12:55:39 PM   SENT
Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21   Page 29 of 31 PageID 36




                EXHIBIT 5




                                                           Exhibit 5
         Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21               Page 30 of 31 PageID 37

Hope Miranda

From:                          omar@caoatlaw.com
Sent:                          Friday, March 12, 2021 5:18 PM
To:                            Hope Miranda
Cc:                            Joy Rose
Subject:                       RE: Phan v. Kroger
Attachments:                   Demand_Dinh Phan_1614096286.pdf; Copy of Phan, D. PE 8.12.19.pdf


Hope,

Thank you for the phone call earlier today and it is my understanding Kroger will attempt to remove the
case to federal court, which Plaintiff opposes. We had discussed the damages Plaintiff would seek. I hope
this email provides more insight regarding Plaintiff's damages as stated in his Original Petition. Plaintiff's
demand was sent out on February 23, 2021, with a ten (10) day expiration date to Kristin Elkins, the
claims examiner for Kroger. I reached out to Ms.Elkins on March 5, 2021, and she responded to me on
March 8, 2021 saying that she would hope to get back to me that week. Plaintiff's demand deadline has
expired, although Plaintiff wishes to receive an offer and continue to engage in informal settlement
negotiations. I attached a copy of Plaintiff's demand which which states the settlement demand requested
at that time. In addition, I attached a medical record from Texas Medical Consultants that recommends a
neurologist/orthopedic spine surgeon regarding my clients spinal structural injuries that has not yet
occurred and could alter Plaintiff's damages model. For those reasons, Plaintiff has filed its Original
Petition under TRCP Rule 169 tracking the same language from the rule seeking $250,000 excluding other
costs as an expedited action. It is my understanding the modification of the rule as of the year 2021 has
an intent for a plaintiff to not need to determine their expected recovery with absolute accuracy.

With respect,
Omar R. Gutierrez
 -------- Original Message --------
 Subject: Phan v. Kroger
 From: Hope Miranda <hmiranda@peavlerbriscoe.com>
 Date: Fri, March 12, 2021 10:01 am
 To: "omar@caoatlaw.com" <omar@caoatlaw.com>
 Cc: Joy Rose <jrose@peavlerbriscoe.com>

 Omar,

 It was a pleasure speaking to you a few moments ago. I wanted to send a quick
 email to memorialize our conversation.

 During our call, I expressed a need to determine whether this case was
 removable so that, in the event Plaintiff is seeking more than $75,000, Kroger
 can remove by today’s deadline. We discussed that due to a desire to possibly
 negotiate early settlement, we have agreed to forego serving discovery at this
 time to allow time for those discussion to take place. However, I requested that
 Plaintiff stipulate to seeking less than $75,000 since, due to our agreement with
 you, we had not yet had the opportunity to confirm the amount of damages
 sought via written discovery requests. You indicated that, at this time, Plaintiff
 cannot make that stipulation, and understood that without such a stipulation,
 Kroger would proceed with removing this case to federal court.

                                                       1
        Case 3:21-cv-00822-B Document 1-2 Filed 04/09/21 Page 31 of 31 PageID 38
If that which is outlined above meets your recollection of our conversation a few
moments ago, please confirm by responding to this email.

Regards,

Hope Miranda
Attorney

PEAVLER|BRISCOE
2215 Westgate Plaza
Grapevine, Texas 76051
214.999.0550 main
214.999.0551 fax
www.peavlerbriscoe.com




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their system the original email message and return this email message to the sender.




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